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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,                         *
                                                   *
        v.                                         * 21-CR-140
                                                   *
                                                   *
 LARRY BROCK                                       *
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                                            EXHIBIT LIST

 Ex. No.     Description                               Witness        Identified    Admitted
    1        Photo
    2        Photo
    3        Photo
    4        January 14, 2021 transcript*



*Mr. Brock reserves the right to introduce exhibits designated by the government and may
supplement this list with materials recently produced.




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